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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

NETLIST, INC.,

                       Plaintiff,
                                                   Civil Action No. 1:22-cv-00134-LY
v.
                                                   JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.


NETLIST, INC.,

                       Plaintiff,                  Civil Action No. 1:22-cv-00136-LY
v.                                                  JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                       Defendants.


                                     JOINT STATUS REPORT

          Pursuant to this Court’s Order dated October 5, 2022 (Dkt. 79), Plaintiff Netlist, Inc.

(“Plaintiff”) and Micron Technology, Inc., Micron Semiconductor Products, Inc. and Micron

Technology Texas LLC (collectively, “Defendants”) hereby submit the following joint status

report regarding pending inter partes review proceedings relating to the Patents-in-Suit:

     I.      U.S. PATENT NO. 9,824,035 (P.T.A.B. CASE NO. IPR2022-00236)

             − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
                 U.S. Patent No. 9,824,035.
             − On July 19, 2022, the Board granted the Petition and trial was instituted.

             − On October 11, 2022, Plaintiff submitted its Patent Owner’s Response.
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 II.   U.S. PATENT NO. 10,268,608 (P.T.A.B. CASE NO. IPR2022-00237)

       − On December 23, 2021, Defendants filed a Petition for Inter Partes Review of
          U.S. Patent No. 10,268,608.
       − On July 19, 2022, the Board denied the Petition, and no trial was instituted.
       − On August 12, 2022, the Defendants filed a request for rehearing and on
          September 16, 2022, the Board denied the request.

III.   U.S. PATENT NO. 8,301,833 (P.T.A.B. CASE NO. IPR2022-00418)

       − On January 14, 2022, Defendants filed a Petition for Inter Partes Review of U.S.
          Patent No. 8,301,833.
       − On September 1, 2022, the Board granted the Petition and trial was instituted.

IV.    U.S. PATENT NO. 10,489,314 (P.T.A.B. CASE NOS. IPR2022-00744 AND
       IPR2022-00745)

       − On March 30, 2022, Defendants filed two Petitions for Inter Partes Review of
          U.S. Patent No. 10,489,314.
       − The parties expect an institution decision on the petitions no later than six months
          from the P.T.A.B.’s filing date notice, which was accorded May 3, 2022.
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Dated: October 18, 2022                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

services are being served with a copy of this document via the Court’s CM/ECF system per

Local Rule CV-5(a) on this the 18th day of October, 2022.



                                            /s/ Ryan A. Hargrave
